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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

                                         )
LILIAN PAHOLA CALDERON JIMENEZ, )
and LUIS GORDILLO, et al.,               )
                                         )
Individually and on behalf of all others )
similarly situated,                      )
                                         )        No. 1:18-cv-10225-MLW
                Plaintiffs-Petitioners,  )
                                         )
        v.                               )
                                         )
CHAD WOLF, et al.,                       )
                                         )
                Defendants-Respondents.  )
                                         )

                        JANUARY 8, 2020 JOINT STATUS REPORT

       On January 7, 2020, this Court ordered that the Parties confer and, by January 8, 2020,

report whether they have agreed to a resolution of Mr. Kim’s Motion for Immediate Interim

Release or, if not, report concerning the matters discussed in the Court’s Order. ECF No. 451.

The Parties hereby report that they have agreed to resolve Mr. Kim’s Motion for Immediate

Interim Release without Court intervention. Therefore, the hearing on Mr. Kim’s Motion for

Immediate Interim Release set for January 16, 2020 is no longer necessary and the Parties

request that the Court cancel the hearing.

       Additionally, this Court previously ordered the Parties to confer and report whether any

individuals have withdrawn their portions of the Motion for Order to Show Cause. ECF No.

423. The Parties have conferred and have reached an agreement with respect to the five

remaining individuals at issue in Petitioners’ Motion for Order to Show Cause: Ramon Justo

Madeira; Kendall Leon; Sambu Sisse; Amadeu Semedo; and Seoun Kim. Accordingly,
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Petitioners hereby withdraw their Motion for Order to Show Cause. Thus, a hearing on that

Motion is no longer necessary and the Parties request that the Court cancel the hearing.

       Relatedly, the Parties agree that it is appropriate for the Court to lift its stay of removal as

to these individuals. See ECF No. 310-1.




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Respectfully submitted this 8th day of January, 2020.


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